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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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11   JENNY LISETTE FLORES, et al.,              ) Case No.: CV 85-4544 DMG (AGRx)
                                                )
12                        Plaintiffs,           )
                                                ) PERMANENT INJUNCTION
13                 v.                           )
                                                )
14                                              )
     WILLIAM P. BARR, Attorney                  )
15   General of the United States, et al.,      )
                                                )
16                               Defendants.    )
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            On September 27, 2019, the Court entered an Order granting Plaintiffs’ Motion to
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     Enforce and denied Defendants’ Motion to Terminate the Flores Settlement Agreement.
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     [Doc. # 688.]
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            Accordingly, IT IS HEREBY ORDERED as follows:
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                   1. The Flores Settlement Agreement remains in effect and has not been
24                    terminated;
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                   2. Because the regulations, published on August 23, 2019, entitled
26                    “Apprehension, Processing, Care, and Custody of Alien Minors and
27                    Unaccompanied Children,” 84 Fed. Reg. 44932–44,535 (“the New
                      Regulations”), fail to implement and are inconsistent with the relevant
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1                 and substantive terms of the Flores Settlement Agreement, including
                  Paragraphs 9 and 40 of the Agreement, Defendants shall continue to
2                 comply with the Flores Settlement Agreement until they publish final
3                 regulations in compliance with the Agreement, including Paragraphs 9
                  and 40; and
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5              3. Defendants are permanently enjoined from applying, implementing, or
6                 enforcing the New Regulations.

7    DATED: September 27, 2019
8                                                        DOLLY M. GEE
9                                                UNITED STATES DISTRICT JUDGE
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